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10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. SA CR 19-047-JLS

14              Plaintiff,                    [PROPOSED] ORDER CONTINUING TRIAL
                                              DATE AND FINDINGS REGARDING
15                    v.                      EXCLUDABLE TIME PERIODS PURSUANT
                                              TO SPEEDY TRIAL ACT
16   STEPHEN WILLIAM BEAL,
                                              [PROPOSED] TRIAL DATE: 07/14/20
17              Defendant.

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          The Court has read and considered the Stipulation Regarding
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     Request for (1) Continuance of Trial Date and (2) Findings of
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     Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
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     parties in this matter on April 17, 2019.         The Court hereby finds
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     that the Stipulation, which this Court incorporates by reference into
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     this Order, demonstrates facts that support a continuance of the
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     trial date in this matter, and provides good cause for a finding of
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     excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
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1          The Court further finds that:       (i) the ends of justice served by

2    the continuance outweigh the best interest of the public and

3    defendant in a speedy trial; (ii) failure to grant the continuance

4    would be likely to make a continuation of the proceeding impossible,

5    or result in a miscarriage of justice; (iii) failure to grant the

6    continuance would unreasonably deny defendant continuity of counsel

7    and would deny defense counsel the reasonable time necessary for

8    effective preparation, taking into account the exercise of due

9    diligence; and (iv) the case is so unusual and so complex, due to

10   nature of the prosecution, the need for forensic and expert

11   examinations, and the voluminous discovery.

12         THEREFORE, FOR GOOD CAUSE SHOWN:

13         1.   The trial in this matter is continued from May 7, 2019 to

14   July 14, 2020.

15         2.   The time period of May 7, 2019 to July 14, 2020, inclusive,

16   is excluded in computing the time within which the trial must

17   commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

18   (h)(7)(B)(ii), and (B)(iv).

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1         3.     Nothing in this Order shall preclude a finding that other

2    provisions of the Speedy Trial Act dictate that additional time

3    periods are excluded from the period within which trial must

4    commence.   Moreover, the same provisions and/or other provisions of

5    the Speedy Trial Act may in the future authorize the exclusion of

6    additional time periods from the period within which trial must

7    commence.

8         IT IS SO ORDERED.

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      DATE                                     HONORABLE JOSEPHINE L. STATON
11                                             UNITED STATES DISTRICT JUDGE
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14   Presented by:
15       /s/ Annamartine Salick
     ANNAMARTINE SALICK
16   Assistant United States Attorney
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